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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against- : 10 Cr. 929 (S-1) (LG)

ANTHONY ROMANELLO,

Defendant.

SENTENCING LETTERS SUBMITTED ON
BEHALF OF DEFENDANT ANTHONY ROMANELLO

Gerald J. McMahon, Esq.
Attorney for Defendant Romanello
The Standard Oil Building

26 Broadway, 18" Floor

New York, New York 10004
Dear Judge Glasser,

| am writing this letter on behalf of my father Anthony Romanello. He will be before your honor for
sentencing in April 2012. The reason | am writing is to make a plea for leniency while rendering
sentencing. My dad is a very big part of not only my life but also the lives of my children. While 1 do
understand the picture that has been painted of my father, | would like to shed some light on the side
you would not be able to see. We are a very close family. While | would not try to pass us off at the
“Brady Bunch’, we all live in the same town of Franklin Square and are all involved in each other's lives.
Everyone is involved in my life in particular. | have been divorced for about ten years now. My children
were only 3 and 5 when | first ventured out on my own. Needless to say, | needed a lot of help. Prior to
my divorce | was a stay at home mom. Following my divorce, | had to move back home with two small
children, get a job, survive two custody battles (which almost killed me) and still manage to maintain
some dignity. I can assure you this was a very difficult time in my life. My father went to every court
date with me. More importantly, my parents and the rest of my family made my children feel a strong
sense of security at a time in their lives when they had lost everything. | do mean everything and also a
lot of people. One of the key people that had slowly removed himself was their father. He currently
lives in Tennessee and has not seen his children for about 5 years. | have had my children in therapy for
quite a few years due to circumstances that had presented themselves. | am very proud to say that they
have done extremely well in spite of all the events that they have been presented with. They were
starting school, | was starting a job and there was a tremendous amount of adjusting taken place. |
managed to get through all of this without my children never having to be in child care and never having
to feel the pain they would have to feel had it not been for my family. My dad has taken my kids to
school, from school, to the dentist, to surgeries and too many other things to mention. When there was
an empty chair held for the father up at school, my dad was the person who filled it. When my daughter
thinks about her father daughter dance at her sweet sixteen, she will tell you that she will dance with
her grandfather. Keep in mind, my son Tyler is now 15 and my daughter, Alexandria, is now 13. | have
two very happy, healthy, well adjusted children that play all kinds of sports, go to gyms and have very
active social lives. Obviously, | cannot be in two places at once. On many occasions, my dad will pick
one up while | am dropping one off. If | am working and they are sick at school he gets them. If {am
working and they are hungry he brings them food. | work six days a week to be able to support my
family. In any event, my children do well in school and in our community because of the support system
we have. My son is venturing into territory that | am not familiar with. When he started to shave, it was
my dad who ran and got him his first razor. Recently he had a sweet sixteen to attend and it was my dad
who helped him get dressed. He even borrowed my dad’s shirt and tie (and looked very handsome).

My plea to the court simply is to show leniency to a 74 year old grandfather whose grandchildren need
him very much. The world will not be a better place with Anthony Romanello off the street, there will
just be a couple of sad people waiting to go visit him. | truly appreciate your taking the time to read this
letter and ! will be with my father as well as the rest of my family when he stands before you in April.

Me ruly Yours,
ofeen Romanello
Linda Lockspeiser LCSW, ACSW

15 Fletcher Ave. 516-285-5227

Valley Stream, New York 11580 Cell 516-467-7889
Iplockspeiser@yahoo.com

1/23/2012

To Whom It May Concern:

I am a therapist in private practice who has worked extensively with Tyler and
Alexendria Davis, the children of Doreen Romanello as a result of abuse they had
experienced as young children by their father from whom they remain estranged.

This letter is being written on the request of Ms. Doreen Romanello on behalf of her
father. While I have never met Mr. Romanello, it is my professional opinion that the
wellbeing of the children was directly influenced by their close relationship with their
grandfather who was and continues to be a guiding force and supportive father figure in
their lives. Since Ms. Romanello was forced to go to work to support the children after
her separation from their father, the children spent many hours each day with their
grandparents and so developed a close bond that provided a sense of security as well as a
source of support that counteracted the negative impact of the abuse. Their healing has
been ongoing, and they are adjusting very well in school, in their relationships and in
their self-esteem.

I am writing this brief summary in the hope that this will be taken into consideration by
the court in Mr. Romanello’s present case.

Sincerely,

Lda Lerheprite

Linda Lockspeiser LCSW
June |1, 2012

To Whom It May Concern:

I am writing today to plead with the court not to impose a jail sentence on my Father,
Anthony Romanello. Since I was born, my Father has always been there. I don’t know a lot
of people that can honestly say that, but he was.

Not only was he there while I was growing up, loving and supporting our family, he was
there when my marriage went bad and I had no place to go with my two young daughters.
As a single parent, with two kids, money was tight and times were tough. My father opened
his home, he fixed up the basement and allowed us to live there.

He is a dedicated family man who takes great pride in all of his endeavors. He is sincere,
honest & trustworthy. He shows genuine concern for his community and is always there to
lend a helping hand. He is a good man, a loving husband, a wonderful father and a
wonderful grandfather.

He is the rock of our family and without him would truly be a hardship on us all!

Your consideration is greatly appreciated.

Respectfully Submitted,

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To whom it may concern,

My name is Angela Camino I am 3@ years old. My father was never in
my life so my grandfather Anthony Romanello basically raised me and supported me
my whole life I lived with my grandparents since I was 2 years old. Now I have a
son who looks up to his great grandfather more than anything and would be
devastated not to be able to see him everyday. The first thing my son does when
he wakes up is ask to go see his grandparents. Please take our family and lives
into consideration when deciding the fate of our grandfather.

Sincerely,

Gayle (rr.

Angela Camino
~ Case 1:10-cr-00929-ILG Document 84 Filed 06/14/12 Page 6 of 11 PagelD #: 642

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915 First Avenue

Franklin Square, NY 11010

DRomanello88@yahoo.com

To Whom It May Concern:

My name is Danielle Romanello. I am 24 years old, a graduate from the Adelphi
School of Nursing and a newly Registered Nurse. I am writing on behalf of my
grandfather, Anthony Romanello. My grandfather has always supported me in
everything that | do. He always believed in me and encouraged me to be a
successful woman. J know that he is proud of my accomplishments and I would like
him to be around to share in my future ones. He is a loving grandfather that has
watched me grow from a little girl into the person I am today. Thank you for your

time and I hope you will take this into consideration.

Sincerely,

Danielle 1. Lomanclls

Danielle M. Romanello
Subject:* [No Subject]
From: Nick Romo (nromo085@yahoo.com)
To: nromo0G5@yahoo.com;

Date: Wednesday, June 13, 2012 11:16 PM

To whom it way concern,

My name is Nick Romanello, grandson of Anthony Romanello. I am eighteen years old and I am in my
second year of college. I am writing on behalf of my grandfather. He has had a major impact on my
childhood and has helped mold me into the person I am today. My grandfather bas always been there for me
when I needed him and I have always been able to go to bim and talk about things going on in my life. We
have a good time when we hang out together, whether it’s in my backyard or in my living room watching a
ballgame. My grandfather is getting older now and J think he should be with his family. Please consider this

before making your decision.

Thank you,

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